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Motion to be Submitted)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

NICOLE BOND,

Plaintiff, CIVIL ACTION NO.

V5.

SOLVAY SPECIALTY POLYMERS,
USA, LLC; SOLVAY SOLEXIS, INC.;
ARKEMA, INC.; E.I. DU PONT DE
NEMOURS & COMPANY; THE
CHEMOURS COMPANY; THE
CHEMOURS COMPANY FC, LLC;
THE 3M COMPANY; AND JOHN
DOE ENTITIES #1-10,

COMPLAINT AND JURY DEMAND

Defendants.

Plaintiff, Nicole Bond, by and through her undersigned counsel, and for her Complaint
against Defendants, Solvay Specialty Polymers, USA, LLC, Solvay Solexis, Inc., Arkema, Inc.,

E.L. du Pont de Nemours & Company, The Chemours Company, The Chemours Company FC,

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LLC, The 3M Company and John Doe Entities #1-10 (collectively “Defendants”), allege as
follows:
NATURE OF THE ACTION

1. This is a civil action brought by Nicole Bond (“Nicole” “Nicole Bond” or
“Plaintiff’). This case seeks to recover damages for personal injuries suffered by Nicole.

2. Plaintiff, Nicole Bond, suffers from profound and permanent personal injuries and
has been required to undergo several medical procedures including, but not limited to:

a. Diabetes;

b. Interstitial cystitis;

C. Colon polyps;

d. Acid reflux;

e, Anxiety and depression;

f. Lymph node resection;

g. Gall bladder resection;

h. Endometriosis; and

i. Loss of the ability to enjoy life’s pleasures.

3. Those injuries were foreseeably caused by Defendants’ misconduct, including

their intentional manufacturing, use, discharge, and/or disposal of toxic and hazardous chemicals
and substances.
4. These hazardous chemicals include but are not limited to:
a. poly- and perfluoroalky! substances (“PFAS”), (fer instance

perfluorononanoic acid (“PFNA”), perfluorcoctanoic acid (“PFOA”), and

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perfluorooctanesulfonic acid (“PFOS”), as well as their replacement compounds, including but
not limited to “GenX’”’).
b. halogenated hydrocarbons (e.g., Dichloromethane, or Methylene

Chloride. Trichloroethylene, Perchlorethylene);

c. heavy metals (e.g., lead, mercury, arsenic, copper, antimony);
d. freons;
€. industrial alcohols and solvents (e.g., acetone, toluene, acetonitrile, ethy!

acetate, heptane, hexane, isopropynol, benzene, ethylbenzene, xylene);

f, numerous mixtures and wastes consisting of multiple compounds,
substances and/or products (e.g., paints, dyes, fuels, explosives, ammunition, hereafter
collectively “mixtures” or “waste”’);

g. polycyclic aromated hydrocarbons (“PAHs”); and

h. particulate matter and airborne waste.

5. These substances and other toxins, (hereafter “toxins”) individually and in
mixtures have the capacity to cause:

a. adverse reproductive outcomes including infertility, subfertility,
prematurity, spontaneous abortion, still birth, birth defects, developmental delays, genetic
damage, and embryonic tumors;

b. malignancies, tumors, and neoplasms including brain cancer, kidney
cancer, ovarian cancer, bladder cancer, testicular cancer, breast cancer, pancreatic cancer, colon
cancer; and

c. additional severe non-malignant disorders.

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6. Further, these toxins have the capacity to act in an additive or synergistic fashion
such that mixed exposures enhance or even multiply their capacity to inflict and accelerate the
harm(s) of the type described above.

7. In addition, the mechanisms by which these relevant toxins inflict harm are many,

and include:

a. apoptosis (cell death),

b. oxidative stress,

c. genotoxicity (spontaneous or de nove mutation),

d. epigenetic change,

€. diminished cellular nourishment,

f. impaired cell to cell communication,

g. endocrine disruption,

h. impaired or excessive immune responses,

i. intrauterine growth retardation,

j. impaired organogenesis, and

k. the capacity to cross placental and brain barriers.
8. There are no safe levels of exposures to the toxins listed in Paragraph 4,

especially with mixed and prolonged exposures.

9. Further, while exposures to these toxins (e.g., quantum of exposure, duration(s) of
exposure and timing of exposure relative to the adverse outcome) typically operate along a
biological gradient (dose-response) fashion such that increases in quantum, duration or timing
increase the potential for harm, even a single exposure at vanishingly small quanta, unfortunately

timed, has the capacity to cause the above described and other injuries. Accordingly, although

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the calculation of the precise dose of exposure to each toxins or mixture (and to the aggregate of
all exposures) is not presently known, these exposures, from both a qualitative and quantitative
perspective, are more than sufficient to have caused Plaintiff's injuries.

10. Asaconsequence of Defendants’ intentional, knowing, reckless, grossly
negligent, and negligent acts and omissions described herein, resulting in the contamination of
the water, air, and soil, including but not limited to Plaintiff's water supply, Plaintiff seeks to
recover compensatory and punitive damages for the personal injuries suffered by Plaintiff.

PARTIES

Li. Nicole is an adult citizen of the State of New Jersey, born on November 4, 1978.

12. Between 1987 and 1988, Nicole resided at and was domiciled at Road # 2,
Swedesboro, New Jersey 08085. From approximately 1995 to the present, Plaintiff Nicole Bond
resided at and was domiciled at 13 Nortonville Road, Swedesboro, New Jersey 08085.

13. The external routes of exposure involved airborne dispersion, groundwater,
surface water, domestic water supplies, soil contamination, and vapor intrusion in and around the
above addresses and adjacent neighborhoods.

14. Exposures of significance with respect to the etiology of Nicole’s injuries and
illnesses occurred during the period from one year prior to her conception and continuing
through her iv utero gestation and the time of her birth. However, that is not to say that other
exposures are irrelevant to Nicole’s injuries and condition.

15. Defendant Solvay Specialty Polymers, USA, LLC (“Solvay USA”) is a
corporation duly organized under the laws of the State of Delaware with its principal place of
business located in Houston, Texas. As a limited liability company Solvay USA’s citizenship is

determined by the citizenship of each of its members. See, e.g, Zambelli Fireworks Mfg. Co. v.

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Wood, 592 F.3d 412, 418 (Gd Cir. 2010). Upon information and belief based upon a search of
publicly available sources, Solvay USA’s sole member is Ausimont Industries Inc,
(“Ausimont’’), a Delaware corporation. Ausimont is a holding company with no operations. Its
headquarters, president, and one of its board members are based in Houston, Texas. Accordingly,
Ausimont’s principal place of business is Houston, Texas. See, e.g, Hertz Corp. v. Friend, 559
U.S. 77, 92-93 (2010); Johnson v. Smithkline Beecham Corp., 724 F.3d 337, 347 (3d Cir. 2013).
Thus, Ausimont is a citizen of Delaware and Texas. Solvay USA, in turn, is also a citizen of
Delaware and Texas. Neither Solvay USA nor Ausimont are citizens of the same state as the
Plaintiff.

16. Defendant Solvay Solexis, Inc. (“Solvay Solexis”) is the predecessor of Selvay
USA and was a corporation duly organized under the laws of the State of Delaware with its
principal place of business located in Houston, Texas.

17. Defendants Solvay USA and Solvay Solexis will collectively be referred
hereinafter as “Solvay”.

18. Defendant Arkema, Inc. (“Arkema”) is a Pennsylvania corporation with its
principal place of business located at 2000 Market Street, Philadelphia, PA 19103.

19. Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation duly
organized under the laws of the State of Delaware with its principal place of business located at
974 Centre Road, Wilmington, DE 19805.

20. Defendant The Chemours Company (“Chemours Co.”) is a corporation duly
organized under the laws of the State of Delaware with its principal place of business located at

1007 Market Street, Wilmington, DE 19899,

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21. Defendant The Chemours Company FC, LLC (“Chemours FC”) is a corporation
duly organized under the laws of the State of Delaware with its principal place of business
located at 1007 Market Street, Wilmington, DE 19899. As a limited liability company,
Chemours FC’s citizenship is determined by the citizenship of each of its members. See, e.g.,
Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412, 418 (3d Cir. 2010). Upon information and
belief based upon a search of publicly available sources, none of Chemours FC’s members are
citizens of the same state as the Plaintiff.

22. Defendants Chemours Co. and Chemours FC will collectively be referred
hereinafter as “Chemours”.

23. Defendant The 3M Company (“3M”) is a corporation duly organized under the
laws of the State of Minnesota with its principal place of business at 2501 Hudson Road,
Maplewood, MN 55144.

24. Defendants John Doe Entities #1-10 are fictitious names of corporations,
companies, partnerships, or other business entities or organizations whose identities cannot be
ascertained as of the filing of this Complaint, some of which are successors to, predecessors or
alter egos of, or are otherwise related to, the identified Defendants in this matter or which are
otherwise liable pursuant to the causes of action set forth herein.

JURISDICTION AND VENUE

25. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 since no
Plaintiff is domiciled in the same state as any Defendant and the amount in controversy exceeds
$75,000.

26. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) since a

substantial part of the events or omissions giving rise to the claim occurred in this District.

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STATEMENT OF FACTS
27, Plaintiff suffers from profound personal injuries described in Paragraph 2 above.
28. These injuries were all proximately caused by the Defendants’ misconduct,

including their intentional manufacturing, use, discharge, and/or disposal of toxic and hazardous
chemicals including, but not limited to, the hazardous chemicals described in paragraph 4 above.

29. With respect to the PFAS, PFOA PFNA and PFOS chemicals!, the United States
Environmental Protection Agency (“EPA”) has identified 3M as the dominant global producer of
PFOA and related chemicals.

30. 3M manufactures at least eighty-five (85%) percent of total worldwide volumes
of PFOA and related chemicals.

31, Poly- and perfluoroalky! substances (‘““PFAS”) are man-made chemicals.

32. PFAS have been manufactured and used in the United States since the 1940s.

33. | PFAS have fire-resistant properties.

34. PFAS act as oil, grease, and water repellants.

35. | PFAS have been used to make many household products such as Teflon®, Gore-

Tex® Stainmaster®, Scotchgard®, and Tyvek®.

36, PFAS compounds are a substantial threat to the environment and human health,
37. Some PFAS have been classified as carcinogenic.
38. Studies report that PFAS exposure and exposures to the other toxins have the

capacity to cause infer alia: testicular cancer, kidney cancer, liver cancer, brain cancer,

lymphomas, leukemia, breast cancer, lung cancer, autoimmune disorders, endocrine disorders,

'Poly- and perfluoroalkyl substances (“PFAS”), whose compounds include perfluorononanoic acid (“PFNA”),
perfluorocctancic acid (“PFOA”), and perfluorooctanesulfonic acid (“PFOS”), and their replacement compounds,
including but not limited to “GenX”.

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developmental and genetic defects to fetuses, developmental defects to breastfed babies, reduced
vaccine response, neurological damage, central nervous system damage, cognitive impairment,
increased cholesterol, and increased liver enzymes and a host of other disorders including those
suffered by Plaintiff.

39,  PFAS compounds and certain other toxins are resistant to degradation.

40. PFAS compounds and certain other toxins persist indefinitely in the environment.

41. | PFAS compounds and certain other toxins or their metabolites bioaccumulate in
living tissue.

42. People who consume PFAS and other toxins via drinking water and are otherwise
exposed accumulate increasing concentrations of PFAS and other toxins or their metabolites in
their blood.

43, For decades, Defendants and their predecessors in interest have known (or should
have known) of the highly toxic characteristics of PFAS and other toxins.

44. The New Jersey Department of Environmental Protection (“NJDEP”) has devoted
time to investigating and is continuing to identify and investigate the presence of PFAS and other
toxins in New Jersey’s environment, as well as to monitor, treat, clean up, and/or remove PFAS
or other toxins in impacted areas.

45. | Chemicals including but not limited to “GenX” have been substituted by
Defendants in lieu of their PFAS chemicals.

46. These replacement chemicals are being inaccurately described as short-chain and
having shorter half- lives.

47. These replacement chemicals do not break down in the environment.

48. They have also been detected in drinking water, groundwater, and surface waters.

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49. In 2009, EPA issued preliminary health advisory values for PFOA and PFOS in
drinking water of 400 parts per trillion (“ppt”) and 200 ppt, respectively.

50. In 2016, EPA lowered its advisories for PFOA and PFOS to 70 ppt collectively
total in further recognition of their extreme danger at even the most miniscule doses.

51. In 2018 the United States Department of Health and Human Services, Agency for
Toxic Substances and Disease Registry (“ATSDR”) released draft minimum risk levels of 21 ppt
for PFOA and PFNA, and 14 ppt for PFOS.

52. | The NJDEP has adopted a specific groundwater Quality Standard (?GWQS”) of
10 ppt for PFNA and a Maximum Contaminant Level (“MCL”) of 13 ppt.

53. The NJDEP added PFNA to its List of Hazardous Substances on January 16,
2018.

54, On March 13, 2019, the NJDEP established interim specific groundwater quality
criteria for PFOA and PFOS of 10 ppt.

55. | The NJDEP has proposed adding PFOA and PFOS to the List of Hazardous
Substances.

56. | The NJDEP also issued a Statewide PFAS Directive, Information Request and
Notice to Insurers against Defendant Solvay Specialty Polymers USA, LCC, Defendant Solvay
Solexis, Inc., Defendant E.I. du Pont de Nemours & Company, Dowdupont, Inc., DuPont
Specialty Products USA, LLC, Defendant The Chemours Company FC, LLC, Defendant The
Chemours Company, and Defendant The 3M Company “to notify them that the Department
believes them to be responsible for the significant contamination of New Jersey’s natural
resources, including the air and waters of the State, with poly- and perfluoroalkyl substances

(“PFAS”),..” which encompass the air and water utilized by plaintiff. Attached hereto as Exhibit

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A is a true and correct copy of the NJDEP Directive. The allegations of Exhibit A are
incorporated herein.

57. The other toxins have also been the subject of repeated governmental evaluation
and regulation by agencies of the federal government, the State of New Jersey, other state
governments, and foreign regulatory bodies. Defendants are believed to have violated such
regulations at relevant times and in relevant localities.

I. Solvay and Arkema’s West Deptford Facility

58. Solvay has been the owner and operator of a manufacturing facility located at 10
Leonard Lane, West Deptford, NJ 08085 (“the West Deptford facility”) from 1990 to the present.

59, Before 1990, Arkema owned and operated the West Deptford facility.

60. Solvay manufactured polyvinylidene fluoride (“PVDF”), which is another PFAS
compound, at the West Deptford facility.

61. PVDF is a specialty plastic used in conjunction with lithium batteries, medical
and defense uses, semi-conductors, or other instances when a higher level of purity is required.
62. On information and belief, Arkema manufactured PVDF and other high-

performance materials at the West Deptford facility prior to 1990.

63.  Solvay’s West Deptford facility was considered to have the second highest
capacity in the world for purposes of using Surflon S-11 to make PVDF, which is composed of
approximately 74% PFNA.

64. In connection with its operations, Solvay recklessly released vast amounts of
PFNA and other toxins into the surrounding air, soil, and water contaminating the site, off-site

properties including Plaintiff's, and New Jersey’s natural resources with PFNA.

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65. At relevant times, Solvay also used sodium perfluorooctanoate (NaPFO) as a
surfactant at the West Deptford Facility, which was supplied to it by 3M.

66. | NaPFO degrades into PFOA.

67. As aresult of its operations, Solvay recklessly, and with actual malice or wanton
disregard of the health of Plaintiff and others, released vast amounts of PFOA into the
surrounding air, water, and soil contaminating the site, off-site properties including Plaintiff's
and New Jersey’s natural resources with the PFOA chemical.

68. Prior to 1990, and at relevant times, as a result of their operations, Arkema
recklessly, and with actual malice or wanton disregard of the health of Plaintiff and others,
released massive amounts of PFOA into the surrounding air, soil and water contaminating the
site, off-site properties including Plaintiff's, and New Jersey’s natural resources with PFOA and
other relevant toxins.

II. DuPont and Chemours’ Chamber’s Works Facility

69. For over a century, from 1891 to 2015, DuPont owned and operated Chambers
Works, 67 Canal Road and Route 130, located in Pennsville and Carneys Point Townships, New
Jersey.

70. DuPont produced, used, and recklessly discharged into the environment
approximately 1,200 separate chemicals, pollutants, and other hazardous substances from the
Chambers Works facility. Upon information and belief, in addition to the PFOA/PFAS
chemicals, many, if not most of the other toxins discussed above were also wrongfully produced,
used and recklessly discharged into the environment from this facility.

71. PFOA was used at Chambers Works beginning in the late 1950s to, among other

things, manufacture fluoroelastomers, perfluoroelastomers, and specialty fluoroelastomers used

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in a variety of consumer and other products for their chemical non-stick and heat-resistant
properties.

72. Telomers were used and manufactured at Chambers Works.

73. PFOA is a by- product of the telomer manufacturing process.

74. At relevant times, 3M supplied DuPont with PFOA.

75. DuPont also accepted large quantities of PFOA-containing waste from off-site
facilities and discharged this and other toxic waste along with wastewater from its on-site PFOA-
related processes through its wastewater treatment plant.

76. Asa result of its operations, for decades, DuPont recklessly released massive
amounts of PFOA as weil as other PFAS, including PFNA, and other toxins from Chambers
Works into the surrounding air, water and soil, contaminating the site, off-site properties
including Plaintiff's, and New Jersey’s natural resources.

77. In 2015, DuPont transferred its Chambers Works facility to Chemours.

78. DuPont continued to operate at the location pursuant to an industrial lease through
which DuPont was the tenant and Chemours FC was the landlord.

79. | Chemours accepted the transfer of DuPont’s Chambers Works facility with the
knowledge that the site had been wrongfully contaminated with PFAS and other toxic
substances.

80. | Chemours accepted the transfer of DuPont’s Chambers Works facility with the
knowledge that it was recklessly discharging PFAS and other toxins into the surrounding air and
water contaminating off-site properties including Plaintiff's, and New Jersey’s natural resources.

81. Sampling of residential drinking water wells in the surrounding area revealed

contamination at least five miles away from the Chambers Works facility with a substantial

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number of wells exceeding applicable screening criteria for concentrations of PFOA, PFNA, or
PFOA and PFOS combined.

82. The NJDEP has declared that: “DuPont has not been working in good faith to
address the contamination it released into New Jersey’s environment. Instead, DuPont knowingly
concealed the true nature of the chemicals it discharged, while simultaneously moving forward
with a corporate reorganization that moved its ‘performance chemicals’ business (including its
PFAS-related product lines), the [Chambers Works facility] itself, and the associated liabilities to
Chemours [Co.] and Chemours FC and away from DuPont (and tens of billions of dollars of its
assets). DuPont has concealed from the Department and the community the extent and nature of
the environmental injuries its contaminants caused.”

83. | NJDEP also declared that “[b]oth DuPont and The 3M Company (“3M”) put their
profits above the public health, safety, and the environment of New Jersey.”

84. DuPont and 3M committed acts and omissions with respect to PFAS and other
toxins with actual malice and/or with a wanton and willful disregard of people who foreseeably
might be harmed by those acts or omissions.

85. This conduct was performed with greed and in callous disregard of the public
health as well as Plaintiffs health and well-being, in order to maximize profit, avoid necessary
expense, to promote sales of their products, and to reduce or eliminate their obligations to
otherwise remediate or prevent the discharge of PFAS into the environment and Plaintiff's
private wells.

UL. Defendants’ Contamination of Groundwater, Surface Water, Drinking Water, Air
and Soil

86. For decades, Defendants knew or should have known of the severe and adverse

health and environmental effects and impacts of PFAS and other toxins.

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87. Despite that knowledge, Defendants continued to use PFAS and other toxins in
products and release them into the environment.

88. From as early as the 1970s, Defendant 3M knew that PFOA and PFOS and other
toxins were harmful to people and the environment based on its own studies and review of
relevant scientific and medical literature.

89, Defendant 3M knew that PFAS and other toxins had the capacity to and
foreseeably would leach into groundwater and contaminate the environment.

90. As early as 1960, an internal 3M memo admitted that its chemicals “[ would]
eventually reach the water table and pollute domestic wells.”

91. 3M intentionally and wantonly sought to suppress scientific research on the
hazards associated with PFAS products and other toxins.

92. 3M intentionally mounted a campaign to control the scientific dialogue on the
exposure, analytical, fate, effects, human health, and environmental risks of its PFAS products
and other toxins.

93. At least one scientist funded by 3M reported his goal as “keep[ing]} ‘bad’ papers
[regarding PF AS] out of the literature” because “in litigation situations” those articles “can be a
large obstacle to refute.”

94, From studies of its own workers, Defendants DuPont knew that PFOA and other
toxins were harmful to humans both alive and in utero.

95, Defendants DuPont knew that PFOA and other toxins were being discharged into
the environment, including the air, soil, groundwater, surface water and drinking or household

water supply.

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96. Defendants DuPont failed to disclose the risks to regulators, the public or
Plaintiff.

97. In a 2003 report on Chambers Works, DuPont disclosed that PFOA was present in
groundwater throughout the facility and at the perimeter at a concentration up to 46,000 ppt.

98. However, DuPont falsely characterized those results as showing “very low levels”
and that “PFOA is being contained on-site by the site groundwater containment system.”

99. Since at least 1991, Defendants Solvay knew that it was discharging large
amounts of PFNA and other toxins into the environment from their West Deptford, New Jersey
facility located at 10 Leonard Lane, West Deptford, NJ 08086.

100. In 2006, the NJDEP conducted its first statewide occurrence study of PFAS in
drinking water.

101. That study revealed that 65% of sampled drinking water sources had PFOA
compounds present, and 30% had PFOS compounds present.

102. In the samples tested, PFOA was detected at a concentration up to 100 ppt, PFOS
was detected up to 43 ppt, and PFNA was detected up to 96 ppt.

103. NJDEP sampled 992 private weils as of June 2018 for PFAS and detected the
following:

a, PFOA in 427 wells (43%) with 284 of those wells having levels of PFOA exceeding
the proposed MCL for PFOA; and

b. PFOS in 304 wells (31%) with 40 of those weils having levels of PFOS exceeding the
proposed MCL for PFOS.

104. 400 of those sampled wells were sampled as part of the remedial investigation

emanating from Solvay’s West Deptford facility.

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105. Studies show that exposure to PFAS have the capacity to cause inter alia
testicular cancer, kidney cancer, liver cancer, autoimmune disorders, endocrine disorders, genetic
damage, developmental birth defects to fetuses, developmental defects to breastfed babies,
reduced vaccine response, increased cholesterol, and increased liver enzymes.

106. The routes of exposure to which Plaintiff was exposed to the relevant toxins
include: a) the ingestion of drinking water, b) the inhalation of vapors and particulate matter, and
c) dermal contact and skin absorption. Plaintiff was exposed, in utero and at the time of
conception, to the relevant toxins and their metabolites which were present in Plaintiff's
mother’s body and also present in Plaintiff's father’s body and particularly in his sperm and
seminal fluid. Plaintiff was also exposed to these toxins or their metabolites as an infant and
throughout Plaintiffs life.

107. Defendants’ negligent, wanton and willful misconduct, (both individually and
collectively) and the resulting wrongful exposures, proximately caused Plaintiffs injuries and
damages as described above.

108. As aconsequence, each Defendant is individually and jointly and severally liable
to Plaintiff for both compensatory and punitive damages.

CLAIMS
Count I: Negligence
Plaintiff v. All Defendants (Including John Doe Entities #1-10)
109. Plaintiff incorporates the allegations contained in all preceding paragraphs as if

fully restated herein.

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110. Defendants knew or should have known that the use of PFAS and/or discharge of
PFAS and other toxins into the air, soil, groundwater and drinking or household water are
hazardous to human health and the environment.

111. Defendants further knew or should have known that it was unsafe and/or
unreasonably dangerous to discharge PFAS and other toxins into the environment in close
proximity to surrounding residential communities, including Plaintiff's residence(s).

112. Defendants DuPont, Chemours, Solvay, Arkema, and John Doe Entities #1-10
had a duty to take all reasonable measures to ensure that PFAS and other toxins would be
effectively contained and not discharged into the surrounding environment.

113. Defendants DuPont, Chemours, Solvay, Arkema, and John Doe Entities #1-10
had a duty to operate and manage their facilities and the related wastes in such a way as to not
create a nuisance or dangerous condition that could cause injury or damage to human health and
the environment.

114. Defendants DuPont, Chemours, Solvay, Arkema, and John Doe Entities #1-10
further had a duty to ensure that the manufacturing processes that they chose to employ did not
unreasonably endanger the drinking water relied upon by residents in the surrounding
community, including Plaintiff's residence(s).

115. Defendants DuPont, Chemours, Solvay, Arkema, and John Doe Entities #1-10
breached the above-stated duties by unreasonably disposing of PFAS and other toxins in a
manner which made it foreseeable that they would enter the environment, specifically but not
limited to the groundwater, exposing nearby residents, including Plaintiff, who relied upon the

proundwater for their drinking and household water supply.

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116. Defendant 3M had a duty to warn users of their PFAS and other relevant products
of the dangers of releasing PFAS and other relevant toxins into the environment.

117. Defendant 3M breached the above-stated duty by failing to adequately warn and
provide sufficient instructions to purchasers such as Defendants Solvay, Arkema, DuPont,
Chemours, and John Doe Entities #1-10, to avoid discharging PFAS and other relevant toxins
into the environment where it was likely to enter the environment including the soil, air, and
water including groundwater and be inhaled, absorbed and/or ingested by residents including
Plaintiff in surrounding communities.

118. Defendant 3M further breached a duty by neglecting to inform itself of the
improper manner in which its purchasers, including the other Defendants mishandled highly
toxic 3M products.

119. Asa direct and proximate result of these acts and omissions, Defendants
individually and collectively wrongfully caused the environment to be contaminated with PFAS
and other toxins, thereby exposing Plaintiff to these chemicals and substances, and causing
injury to Plaintiff as described above.

120. All Defendants contributed to the contamination of the environment with PFAS
and other harmful substances, and all subsequently contributed to Plaintiff’s exposure to these
chemicals, thereby causing injury to them.

121. The acts and omissions of Defendants were negligent, and as a result, Plaintiff has
suffered and/or will in the future suffer damage in the form of bodily injuries, emotional distress,

economic loss, medical expenses and was otherwise damaged, for which Defendants are liable.

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WHEREFORE, Plaintiff requests that this Court enter judgment against Defendants,
jointly and severally, for compensatory, non-compensatory and punitive damages, together with
interest, costs, attorneys’ fees, and all such other relief as the Court deems proper.

Count I: Gross Negligence and Recklessness
Plaintiff v. All Defendants (Including John Doe Entities #1-10)

122. Plaintiff incorporates the allegations contained in all preceding paragraphs as if
fully restated herein.

123. Atall relevant times, Defendants, as detailed above, committed acts and
omissions with respect to PFAS and other toxins with actual malice and/or with a wanton and
willful disregard of persons who foreseeably might be harmed by those acts or omissions and/or
with gross negligence.

124. Specifically, Defendants wantonly and willfully caused, permitted, and allowed
the release of PFAS and other toxins into the environment including the air, water, and soil,
including the drinking water of Plaintiff, constituting a want of care and a conscious indifference
to the rights, weifare, safety, and health of Plaintiff, such that Defendants’ acts constitute gross
negligence or reckless, willful or wanton misconduct.

125. Such conduct was motivated by greed in an effort to maximize profit with
disregard to their duties and responsibilities to the public and to Plaintiff.

126. All Defendants contributed to the contamination of the environment with PFAS
and other toxins, and all subsequently contributed to Plaintiffs exposure to these chemicals,

thereby causing injury to Plaintiff.

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127. Defendants’ conduct involved deliberate acts or omissions with knowledge of a
high degree of probability of harm to the Plaintiff and an attendant reckless indifference to
Plaintiff's health, safety, and welfare.

128. Defendants’ conduct demonstrated a willful and wanton, malicious and reckless
disregard of the rights of Plaintiff so as to warrant the imposition of punitive damages.

WHEREFORE, Plaintiff requests that this Court enter judgment against Defendants
jointly and severally, for compensatory, non-compensatory and punitive damages, together with
interest, costs, attorneys’ fees, and all such other relief as the Court deems proper.

Count IH: Private Nuisance

Nicole Bond v. Solvay, Arkema, DuPont,
Chemours & John Doe Entities #1-10

129. Plaintiff incorporates the allegations contained in ail preceding paragraphs as if
fully restated herein.

130. Defendants’ acts and omissions with respect to the release of PFAS and other
toxins in the environment resulted in the contamination of the air, soil, and water, including but
not limited to Plaintiff's water supply, and have thus unreasonably interfered with Plaintiff's use
and enjoyment of Plaintiffs property, invading the home and body of Plaintiff.

131. Defendants’ acts and omissions with respect to the release of PFAS and other
toxins has made Plaintiff's water supply unfit for consumption and other domestic purposes.

132. Defendants’ unreasonable interference with the use and enjoyment of Plaintiff's
property constitutes a continuous invasion of Plaintiff's rights.

133. Defendants, Solvay, Arkema, DuPont and Chemours all contributed to the
contamination of the environment with PFAS and other toxins, and all substantially contributed

to a private nuisance on Plaintiff causing Plaintiff’s injuries and damages as stated above.

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WHEREFORE, Plaintiff requests that this Court enter judgment against Defendants
jointly and severally, for compensatory, non-compensatory and punitive damages, together with
interest, costs, attorneys’ fees, and all such other relief as the Court deems proper.

Count IV: Public Nuisance

Nicole Bond v. Solvay, Arkema, DuPont, Chemours & John Doe Entities #1-10

134. Plaintiff incorporates the allegations contained in all preceding paragraphs as if
fully restated herein.

135. Defendants’ conduct detailed above unreasonably interfered with a right common
to the general public, including the public’s right to be free from environmental contamination in
the air it breathes and water it drinks, and in which its members bathe, shower, and swim.

136. Defendants’ conduct detailed above unreasonably and significantly interfered
with the public health and public safety by contaminating water, soil, and air with toxic and
carcinogenic chemicals.

137. Defendants’ conduct was of a continuing nature, and/or produced a long-lasting
effect, and Defendants knew and/or had reason to know that it would have a significant effect on
the public’s rights.

138. Plaintiff suffered harm of a kind different from that suffered by other members of
the public exercising rights common to the general public.

139. Defendants’ acts and omissions with respect to the release of PFAS and other
toxins in the environment including the air, soil, and water resulted in the contamination of
Plaintiff's home and water supply and injuries and damages as set forth above.

140. Defendants’ unreasonable interference with the use and enjoyment of Plaintiff's

property constitutes a continuous invasion of Plaintiff's rights.

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141. Defendants, Solvay, Arkema, DuPont and Chemours all contributed to the
contamination of the environment with PFAS and other toxins, and all subsequently contributed
to the public nuisance imposed on Plaintiff.

142, Defendants’ creation of a continuing public and/or private nuisance has damaged
Plaintiff in the form of bodily injury, emotional distress, and other damages all of a type not
common to the general public, for which Defendants are liable.

WHEREFORE, Plaintiff requests that this Court enter judgment against Defendants
jointly and severally, for compensatory, non-compensatory and punitive damages, together with
interest, costs, attorneys’ fees, and all such other relief as the Court deems proper.

Count V: Past and Continuing Trespass

Nicole Bond, vy. Solvay, Arkema, DuPont,
Chemours & John Doe Entities #1-10

143. Plaintiff incorporates the allegations contained in all preceding paragraphs as if
fully restated herein.

144. As related above, Plaintiff is and has been the owner(s) and/or possessor(s) of real
property and reside or resided on those properties.

145. Defendants negligently, recklessly, and/or intentionally failed to properly control,
apply, use and/or dispose of PFAS and other toxins resulting in their discharge into the
environment entering, invading, intruding, and injuring the rights of Plaintiff to possess and
enjoy her properties.

146. Plaintiff has not consented and does not consent to the contamination alleged
herein, and Defendants knew or reasonably should have known that Plaintiff would not consent

to such.

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147. Defendants, Solvay, Arkema, DuPont and Chemours, all contributed to the
contamination of the environment with PFAS and other toxins, and all subsequently contributed
to the past and continuing trespass imposed on Plaintiff.

148. Asa direct and proximate result of Defendants’ acts and omissions as alleged
herein, the soil and drinking water wells servicing the Plaintiff’s properties have been
contaminated with PFAS, and other toxins, causing significant personal injuries and damage,
including actual, consequential, and nominal damages as described above.

WHEREFORE, Plaintiff requests that this Court enter judgment against Defendants
jointly and severally, for compensatory, non-compensatory and punitive damages, together with
interest, costs, attorneys’ fees, and all such other relief as the Court deems proper.

Count VI: Strict Liability (Abnormally Dangerous Activities)
Plaintiff v. Solvay, Arkema, DuPont, Chemours, 3M & John Doe Entities #1-10

149, Plaintiff incorporates the allegations contained in ail preceding paragraphs as if
fully restated herein.

150. Atall relevant times, Defendants Solvay, Arkema, DuPont, Chemours, 3M and
John Doe Entities #1-10 either sold, disposed of, discharged, and emitted hazardous substances
from their facilities which they owned, controlled, and operated.

151. Asa result of Defendant 3M selling and Defendants Solvay, Arkema, DuPont,
Chemours and John Doe Entities #1-10 discharging such substances from their sites, the
groundwater under Plaintiff's property and the air breathed by Plaintiff were contaminated with
hazardous substances, creating actual harm to Plaintiff.

152. The manufacturing, utilization, disposal, and discharge of PFAS and other toxins

constitute abnormally dangerous activities that introduce an unusual danger in the community.

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153. Defendants’ activities in selling, manufacturing, utilizing, disposing, and
discharging of these products presented a high degree of risk of harm to the person, land, and/or
chattels of others.

154. It was likely that the harm resulting from Defendants’ activities would be great.

155. The exercise of reasonable care does not eliminate the risk of harm posed by
Defendants’ activities.

156. Defendants’ activities are not a matter of common usage in the areas in which
they were carried out.

157. Defendants’ activities were inappropriate to the locations in which they were
carried out,

158. The dangerous attributes of and risk posed by Defendants’ activities outweighed
their value to the community,

159. The manufacturing, utilization, disposal, and discharge of these products are not
matters of common usage in the areas where these activities were carried out.

160, Atall relevant times, the risk of the Defendants’ abnormally dangerous activities
outweighed the value to the community.

161. Defendants’ acts and omissions in selling, manufacturing, utilizing, disposing,
and discharging hazardous chemicals proximately caused the contamination to Plaintiff's
properties and injuries and damages to Plaintiff, making Defendants strictly liable for the harm
caused by such contamination.

162. Defendants Solvay, Arkema, DuPont, 3M and Chemours all foreseeably

contributed to the contamination of the environment with PFAS and other toxins, and all

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subsequently contributed to Plaintiff's exposure to these chemicals, thereby causing injury and
damages to them as set forth above.

163. Asa direct and proximate result of Defendants’ discharges of hazardous
substances and contaminants, Plaintiff has and will continue to suffer damages.

WHEREFORE, Plaintiff requests that this Court enter judgment against Defendants,
jointly and severally, for compensatory, non-compensatory and punitive damages, together with
interest, costs, attorneys’ fees, and all such other relief as the Court deems proper.

Count VII: Strict Liability (Failure te Warn)
Plaintiff v. 3M & John Doe Entities #1-10

164. Plaintiff incorporates the allegations contained in all preceding paragraphs as if
fully restated herein.

165. Defendant 3M developed, tested, assembled, manufactured, packaged, labeled,
prepared, distributed, marketed, and/or supplied PFAS and other toxins for sale and sold such
products to Defendants DuPont, Chemours, Solvay, Arkema, and John Doe Entities #1-10 in the
ordinary course of their businesses.

166. Upon information and belief, Defendants DuPont, Chemours, Solvay, Arkema,
and John Doe Entities #1-10 utilized the PFAS chemicals and other toxins supplied by Defendant
3M in a reasonably foreseeable and intended manner.

167. The PFAS and other toxins sold by Defendant 3M were unreasonably dangerous
to residents of surrounding communities, including Plaintiff, without adequate warnings and
instructions to prevent the discharge of PFAS and other toxins into the environment and

accumulation inside the bodies of residents in surrounding communities, including Plaintiff.

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168. Defendant 3M knew or should have known that the PFAS and other toxins they
sold would be discharged into the environment and cause contamination of the water supply of
residents and accumulation in the blood serum and bodily tissues of residents living in the
surrounding communities, including Plaintiff.

169. Defendant 3M failed to advise Plaintiff as well as Defendants Solvay, Arkema,
DuPont, Chemours, and John Doe Entities #1-10 which were purchasers or users of PFAS and
other toxins, or those foreseeably exposed to their PFAS and other toxins, about the risks these
products posed to foreseeable third parties, such as Plaintiff, and about techniques that could be
employed to reduce or eliminate these risks.

170. Defendant 3M had actual knowledge of the health hazards associated with PFAS
and other toxins through both animal studies conducted by researchers employed or contracted
by such Defendant and though experience with Defendant’s own workers, but, upon information
and belief, failed to share such information with purchasers, users or those foreseeably exposed
to their products, including Plaintiff and Defendants, DuPont, Chemours, Solvay, Arkema, and
John Doe Entities #1-10, or with governmental agencies.

171. Defendant 3M acted with reckless indifference to the health and safety of
residents in surrounding communities where its PFAS and other toxins were used by failing to
provide adequate warnings of the known dangers of such products when discharged into the
environment and ingested by nearby residents, such as Plaintiff.

172. Defendant 3M had a duty to warn users of their PFAS products and other toxins
of the dangers of releasing PFAS and other toxins into the environment.

173. Defendant 3M breached the above-stated non-delegable duty by failing to

adequately warn and provide sufficient instructions to purchasers such as Defendants, Solvay,

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Arkema, DuPont, Chemours, and John Doe Entities #1-10, fo avoid discharging PFAS and other
toxins into the environment where it was likely to enter groundwater and be ingested by residents
in surrounding communities, including Plaintiff.

174. Asa direct and proximate result of Defendant 3M’s acts and omissions, Plaintiff
has and will continue to suffer damages,

WHEREFORE, Plaintiff requests that this Court enter judgment against Defendants
jointly and severally, for compensatory, non-compensatory and punitive damages, together with
interest, costs, attorneys’ fees, and all such other relief as the Court deems proper.

Count VUE: Strict Liability (Defective Design)
Plaintiff v. 3M & John Doe Entities #1-10

175. Plaintiff incorporates the allegations contained in all preceding paragraphs as if
fully restated herein.

176. Defendant 3M designed, manufactured, and sold PFAS and other toxins that were
used at the Chambers Works and West Deptford facilities and elsewhere by Defendants DuPont,
Chemours, Solvay, Arkema and John Doe Entities #1-10.

177. Asa manufacturer and seller of PFAS and other toxins, Defendant 3M had a duty
to make and sell products that are reasonably fit, suitable, and safe for their intended or
reasonably foreseeable uses.

178. Defendant 3M owed that duty to direct users of its products, to reasonably
foreseeable users of its products, and aiso to any person who might reasonably be expected to

come into contact with these products, such as Plaintiff.

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179. Defendant 3M’s PFAS products and other toxins were used in a reasonably
foreseeable manner and without substantial change in the condition of such products and were
defective and unfit for their reasonable use.

180. Defendant 3M knew or should have known that use of its PFAS and other toxins
used by Defendants DuPont, Chemours, Solvay, Arkema, and John Doe Entities #1-10 would
result in the spillage, discharge, and/or release of PFAS and other toxins into the environment
and would contaminate the environment including the groundwater, air, soil, and drinking water
of surrounding communities, including Plaintiff's.

181. Defendant 3M knew or should have known that its PFAS and other toxins would
eventually come into contact with and harm residents in surrounding communities, including
Plaintiff.

182. Defendant 3M’s PFAS products were defective in design and unreasonably
dangerous because, among other things:

a. PFAS and other toxins cause extensive and persistent contamination when used in
a reasonably foreseeable and intended manner; and

b. PFAS and other toxins’ contamination in the environment, including the air, soil,
and groundwater, which are the sources of drinking water to citizens in the surrounding
communities, including Plaintiff, poses significant threats to their health, safety, and welfare.

183. Atall relevant times, Defendant 3M’s PFAS and other toxins which they
designed, manufactured, and sold were dangerous to an extent beyond that which would be

contemplated by the ordinary consumer.

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184. The foreseeable risk to public health and welfare, including that of Plaintiffs,
posed by Defendant 3M’s PFAS and other toxins outweighed the cost to Defendant 3M of
reducing or eliminating such risk.

185. Defendant 3M knew or should have known about reasonably safer and feasible
alternatives to PFAS and other toxins.

186. Asa direct and proximate result of Defendant 3M’s acts and omissions, Plaintiff
has and will continue to suffer injuries and damages.

WHEREFORE, Plaintiff requests that this Court enter judgment against Defendants
jointly and severally, for compensatory, non-compensatory and punitive damages, together with

interest, costs, attorneys’ fees and all such other relief as the Court deems proper.

DEMAND FOR JURY TRIAL
Plaintiff hereby demands a trial by jury on all issues so triable.
DESIGNATION OF TRIAL COUNSEL
Steven Phillips, Esq. is hereby designated as trial counsel on behalf of Plaintiff.
CERTIFICATION PURSUANT TO L.CIV.R. 11.2

The undersigned counsel certify that, with the following exceptions, the matter in
controversy is not the subject of any other action pending in any court or of any pending arbitration
or administrative proceeding:

Bond, et al. v. Solvay Specialty Polymers USA, LLC, et al., No.
1:20-cvy-08487-NLH-JS

Slusser, et al. v. Solvay Specialty Polymers USA, LLC, et al.,
No. 1:20-cv-11393-NLH-JS

Deese, et al. v. Solvay Specialty Polymers USA, LLC, et al.,
No, 1:21-cv-00217-NLH-KW

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Corrar v. Solvay Specialty Polymers USA, LLC, et al.,
No. 1:21-cv-00452-NLH-K W

Philipp, et al. v. Solvay Specialty Polymers USA, LLC, et al.
SLM-L-181-21

Albritton v. Solvay Specialty Polymers USA, LLC, et al.
SLM-L-187-21

Allen v. Solvay Specialty Polymers USA, LLC, et al.
SLM-L-198-21

Mesogianes, et al. v. Solvay Specialty Polymers USA, LLC,
et al.
SLM-L-199-21

Giordano, et al. v. Solvay Specialty Polymers USA, LLC et al.
No. 19-cv-21573-NLH-JS

Severa, et al. v. Solvay Specialty Polymers USA, LLC et al.,
No. 20-cv-06906-NLH-JS

NJDEP, et al. v. E. 1. Du Pont De Nemours and Company, et al.
No. 2:19-cv-14758-JMV-SCM

NJDEP, et al. v. E. I. Du Pont De Nemours and Company, et al.
No, 1:19-cv-14765-NHL-JS

NJDEP, et al. v. E. 1. Du Pont De Nemours and Company, et al.
No. 1:19-cv-14766-RMB-JS

NJDEP, et al. v. E. I. Du Pont De Nemours and Company, et al.
No. 3:19-cv-14767-MAS-ZNQ
The undersigned counsel further certify that we are aware of no other parties who should
be joined in this matter at this time.

PHILLIPS & PAOLICELLI, LLP
Attorneys for Plaintiff

BY: s/ Steven Phillips
Steven Phillips, Esq.

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SZAFERMAN LAKIND BLUMSTEIN
& BLADER,
Attorneys for Plaintiff

BY:  _s/_ Arnold Lakind
Amold Lakind, Esq.

BY: _s/ Robert Lytle
Robert Lytle, Esq.

Dated: December 29, 2022

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EXHIBIT A

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State of New Jersey
Depaitment of Enviconmental Protection

PHILIP D, MURPHY P.O. Box 420 CATHERINE &. MCCABE
Governor Trenton, New Jersey 08625 Commnisstoner

SHEILA Y, OLIVER
tt. Governor

IN THE MATTER OF POLY- AND PERFLUOROALKYL  :
SUBSTANCES (PFAS) GENERATED BY: :

SOLVAY SPECIALTY POLYMERS USA, LEC;
STATEWIDE PFAS DIRECTIVE,

SOLVAY SOLEXES, INC,;
: INFORMATION REQUEST
EJ, DU PONT DE NEMOURS & COMPANY; : AND NOTICE TO INSURERS

DOWDUPONT, INC.;

DUPONT SPECIALTY PRODUCTS USA, LLC;

THE CHEMOURS COMPANY FC, LLC; ‘
THE CHEMOURS COMPANY; and, :
THE 3M COMPANY

This Directive, information Request, and Notice to Insurers (hereafter, “Oirective”) is issued
pursuant to the authority vested in the Commissioner of the New Jersey Department of Environmental
Protection {"Department”} by N.J.S.A. 13:1D-1 et seq,, the Spill Compensation and Control Act ("Spill Act”),
N,J.S,A, 5B:10-23.11 et seq, the Water Pollution Control Act (“WPCA”), NLS.A. 58:10A-1 et seq., the Alr
Pollution Control Act (“APCA”}, N.I.S.A, 26:2C-1 et seq., and the Solld Waste Management Act (“SWMA")
NLLS.A, 13:46-1 et seq., to Solvay Specialty Polymers USA, LLC and Its predecessor Solvay Sofexis, Inc.
(collectively, “Solvay”}, EL du Pont de Nemours & Company, ("OuPont”}, DowDuPont, Inc.
(“DowDuPont”}, DuPont Specialty Products USA, LLC, The Chemours Company FC, LLC {“Chemours FC,
LLC"), The Chemours Company ("Chemours”) and The 3M Company ("3M") (collectively, the
“Respondents”) to notify them that the Department believes them to he responsible for the significant
contamination of New Jersey's natural resources, including the air and waters of the State, with poly- and
perfluoroalkyl substances {"PFAS”), Including perflucrononanoic acid (“PFENA”}, perfluoraoctanolc acid
(“PFOA”), and perfluorooctanesulfonic acid {”PFOS”), and thelr replacement compounds, including but
not limited to “Genx”,

PFAS are being discovered in drinking water, groundwater, surface waters, sediments, soils, air,
fish, plants, and other natural resources across New Jersey on a near dally basis. These PFAS compounds
constitute a substantial threat to human health and the environment and a statewide public nuisance:
they are extremely resistant to degradation and thus persist indefinttely In the environment; they
bioaccumulate; they are commonly contained in consumer and household products; and contamination
from PFAS is now ubiquitous in New Jersey. While Respondents and their predecessors In Interest have
understood the toxic characteristics of PEAS for decades, regulatory agencies around the world are only
now coming to understand the true nature and dangers of these global contaminants. As further detalled
below, the Department has expended and will continue to expend tremendous resources to identify and
investigate the presence of PFAS In New Jersey’s environment, as well as to monitor, treat, clean up,
and/or remove PEAS in impacted areas. Asa result, the Department has determined that it ts imperative

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to the protection of public health and safety and the environment of New Jersey that such investigation,
monitoring, testing, treatment, cleanup and removal continue, and that Respondents, not New Jersey
residents, pay for these activites.

To protect public health and the environment, the Department requires a full understanding of
Respondents’ historical development, manufacture, transport, use, storage, release, discharge, and/or
disposal of PFAS in New Jersey. The Department likewise requires an immediate understanding of
Respondents’ current development, manufacture, transport, use, storage, release, discharge, and/or
disposal! of any chemical replacements for PEAS in New Jersey. While these replacement chemicals have
been touted as short-chain and having shorter half-lives, some may have similar toxicity and, like their
predecessors, they do not break down in the environment and have also been detected In drinking water,
groundwater and surface waters in New Jersey. Therefore, the Department is directing that Respondents
provide a complete accounting of their historical and current activities with respect to these chemicals In
New Jersey.

Under the Spill Act, WPCA, SWMA, and APCA, the Respondents are responsible for PFAS--
iricluding PFNA, PFOA, PFOS and their replacement PFAS compounds—that have been discharged or
released into New Jersey’s air, water and other natural resources, as set farth below.

FINDINGS

A. PFAS Contamination in New Jersey

PFAS: Contaminants of Emerging Concern

1. Poly- and perfluoroalkyl substances, collectively referred to as PFAS, are man-made chemicals
manufactured and used In the United States since the 1940s. PFAS have fire-resistant praperties
and act as oll, grease and water repellants. They have been used to make numerous household
products, including name brands such as Stainmaster®, Scotchgard®, Teflon®, Gore-Tex®, and
Tyvek®. PFOS has long been used In aqueous film-forming foam ("AFFF”) used to fight fires. There
are literally thousands of PFAS compounds.

2. PFAS are highly persistent in the environment and are resistant to metabolic and environmental
degradation processes. They are also bloacctinwiative, resulting in the buildup of these toxins in
living tissue. As a result, people exposed to these stibstances through drinking water or other
means accumulate Increasing concentrations of PEAS in their blood, Some PFAS are classified as
likely human carcinogens. Studies shaw that exposure to PFAS may cause testicular cancer,
kidney and liver cancer, and autoimmune and endocrine disorders in adults as well as
developmental effects to fetuses during pregnancy or to breastfed infants. Other associated
human health effects include reduced vaccina response, and increased cholesterol and liver
enzymes.

3, DuPontand 3M knew of the health and environmental Impacts of PFAS for decades but continued
to use them In products and to release them into the enviranment. 3M knew that PFOA and PFOS
were harmful to people and the environment, Including based on Its own studies from as early as
the 1970s, 3M also knew that the chemicals could leach into groundwater and cantaminate the
environment. OuPont knew for decades that PFOA was toxic, including through studies of its own
workers. DuPont also knew that PFOA was belng discharged Inte the environment, but failed to
disclose the risks to regulators or the pubic, Likewise, through Its membership ln an industry

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10.

4.

trade group that conducted toxicology studies on PFNA In the 2000s, Solvay knew or should have
known of the adverse effects of PFNA exposure. Solvay knew that it was discharging large
amounts of PENA Into the environment from their West Deptford, New Jersey facility at least as
early as 1991,

The United States Environmental Protection Agency (“EPA”) has identified PFAS as “emerging
contaminants,” which are currently unregulated at the federal level. in 2009, EPA Issued
preliminary health advisory values for PFOA and PFOS In drinking water of 400 parts per trillion
("ppt") and 200 ppt, respectively. In 2016, EPA reduced Its advisories for the chemicals in drinking
water to 70 ppt, combined, Other federal agencies have suggested drinking water values should
be much lower. Then, In 2018, the U.S. Department of Health and Human Services, Agency for
Towle Substances and. Disease Registry (“ATSDR”) released draft minimum risk levels—-the amount
of a chemical a person can eat, drink or breathe each day without a detectable risk to health—for
PFOA and PFNA equivalent to 212 ppt, and for PFOS 14 ppt.

Regulation of PFNA, PFOA and PFOS.

in the absence of action at the federal level to meaningfully regulate these contaminants of
emerging concern, New Jersey has acted to protect its citizens and environment and to regulate
PFNA, PFOA and PFOS, Including by seeking to establish Maximum Contaminant Levels (“MCLs”)
and Groundwater Quality Standards (“GWQS") for these chemicals, and to add these chemicals
to the Department’s List of Hazardous Substances at NLA.C. 7:1E-Appendix A, as well as taking
other necessary actions,

The New Jersey Drinking Water Quallty Institute (“DWAQ!") is established pursuant to the Safe
Drinking Water Act {"SDWA"), NS.A. 58:12A-1 et seq, itis an advisory body that, among other
items, provides the Department with maximum contaminant level recommendations for New
jJersey-specific drinking water contaminants,

The Department establishes MCts at NJ.A.C. 7:10 pursuant to the SOWA to protect the pubile
against consumption of drinking water contaminants that presenta risk to human health. N.J.S.A.
58:12A-13(b}. MCLs apply to public community and public non-community water systems, which
are required to monitor for contaminants for which MCLs have been established, and to take
actlons to reduce contaminant levels or other appropriate actions when there is an exceedance
of the MCL.

GWOS are set forth at NULA.C, 7:9C and are implemented as limits on discharges to groundwater
pursuant to the New Jersey Pollutant Discharge Elimination System (NJPDES} rules, NJ.A.C, 77144,
and as groundwater remediation standards, N.LA.C. 7:26D-2.2{a).

in July, 2015, DWQ{ recommended to the Department that an MCL for PFNA of 13 ppt be
astablished, and on November 25, 2015, the Department established an interim GWQS for PFNA
of 10 ppt pursuant to NAC. 7:9C-1.7(c}.

In March 2017, after public comment and a vote, DWQI recommended to the Department that
an MCL for PFOA of 14 ppt be established.

in November 2017, after public comment and a vote, DWQI recommended to the Bepartment
that an MCL for PFOS of 13 ppt be established.

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On January 16, 2018, the Department adopted a specific GWOS for PFNA of 10 ppt and added
PFNA to the Departrnent’s List of Hazardous Substances (see 50 NR. 334(a)).

On September 4, 2018, consistent with the recommendation of DWI, the Department adopted
an MCL for PENA of 13 ppt (see 50 N.JR. 1939(a}).

On January 17, 2019, the Department solicited public input and posted on ils website technical
documents In support of its draft Interim Specific Groundwater Quality Criteria for PFOA and PFOS

of 10 ppt. See httos://www.ni gov/den/ds/ISGWQC Public Comment PFOS PFOA html,

On March 13, 2019, the Department established Interlm specific groundwater quality criteria for
PFOA and PFOS of 10 ppt, pursuant to NJAC, 7:9C-1,7(c). See
hitps://ni.gov/dep/wms/bears/ewas.him, These interlm specific criteria became effective on
posting to NIDEP's website, and will remain in effect until replaced with specific criteria. NAC,
7:9C-1.7{ch{i}.

The Department has submitted to the Office of Administrative Law a notice of praposed rule
amendments concerning PFOA and PFOS, which Is anticipated to be published in the New Jersey
Register on April 1, 2019. The Department will propose amending the Safe Drinking Water Act
rules establishing MCLs for PFOA of 14 ppt and for PFOS of 13 ppt; establishing groundwater
quality criterla standards for PFOA of 14 ppt and PFOS of 13 ppt; and adding PFOA and PFOS to
the List of Hazardous Substances.

PFAS Contamination in New Jersey

The Department's first statewide occurrence study of PFAS in drinking water in 2006, which
focused on PFOA and PFOS near facllities that used, handied, stored and/or manufactured PFOA
and/or other chemicals, revealed that, out of the 23 drinking water sources sampled, PFOA and
PFOS were detected In 65-percent and 30-percent of the systems tested, respectively.

in order to galn further knowledge on the occurrence of PFOA, PFOS and other PFAS in New
Jersey's drinking water sources, the Department Initiated a second occurrence study in 2009 and
early 2010, The results of this second occurrence study revealed that, out of 33 drinking water
samples from 20 of New Jersey's 21 countles, between one and elght PFAS compounds were
detected In 70-percent of the samples. In the samples tested, PFOA was detected In 57-percent
{up to 100 ppt}, PFOS was detected in 30-percent (up to 43 ppt), and PFNA was found at the
highest reported level In drinking water anywhere In the world, at 96 ppt.

The Department is continuing to study PFAS compounds and their impact on New Jersey's
environment, in 2018, the Department performed an assessment of 13 PFAS.compounds In the
ecosystems of 11 waterways across New Jersey, which Included analyzing surface water, sediment
and fish tissue samples. The results of this study revealed all surface water samples and most
sediment samples to have multiple PFAS compounds. Fish from al! waterbodies also contained
PFAS compounds, resulting In the need for the Department to issue more restrictive fish
consumption advisories for LO of these sites.

As of March 19, 2019, 564 of 1,069 public water systems (53-percent) have reported the results
of PEAS sampling under NJ.A.C, 7:10-5. 70 public water systems not previously identified through

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other sampling events — 12-percent of the public water systems reporting — reported levels at or
above the recommended MCL for PENA, PFOA, PFOS, or a combination of the three. Prior to the
first quarter monitoring required by N.J.A.C 7:10-5 described above, another 46 water systems
reported tevels at or above the recommended MCLs for PFNA, PFOA, PFOS or a combination of
the three,

The Department has also sampled for PFAS as part of remedial investigations in speclfie locations
around the State, Including 992 private wells sampled as of June 2018: Through this targeted
effort, the Department has detected PFOA In 427 private wells ~ or 43-percent of the wells
sampled — and 284 private wells were found to have levels of PFOA exceeding the proposed MCL.
PFOS was found in 304 private wells -- or 31-percent of the private wells tested — with detections
at 40 wells above the proposed PFOS MCL. As of April 3, 2028, out of the 400 weils sampled as
part of the remedial investigation emanating from Solvay’s site, 83 wells - 21-percent — required
Installation of a point of entry treatment ("POET") system for PENA or PFOA,

Responsible Parties

Respondents are responsible for the significant PFAS contamination across New Jersey and the
costs the Department has incurred, and will incur, responding to this threat to public health,
safety and the enviranment.

1. Solvay

Solvay Specialty Polymers USA, LLC (and its predecessor Solvay Solexis, Inc,} (collectively “Solvay”)
Isa Delaware Corporation with its principal place of business at 10 Leonard Lane, West Deptford,
New Jersey,

Solvay (formerly known as Ausimont USA, Inc.) has been the owner and operator of a
manufacturing facility located at 10 Leanard Lane and Crown Point Road, Block 328, Lots 1.01 and
1.07 on the tax maps of West Deptford Township, Gloucester County, fron: 1990 to the present
{the “Solvay Site”). From approximately 1990 ta 2012, Solvay manufactured polyvinylidene
fluoride (“PVDF”) at this facility, which Is a specialty plastic that Is utilized in conjunction with
lithium batterles, medical and defense uses, seml-conductors, or other instances when a higher
level of purity Is required. During most of this time, Surflon $-111 was used in the manufacturing
process for PVOF, Surflon S-111 is composed of approximately 74% PFNA, Solvay’s facility was
considered to have the second highest capacity In the world for purposes of using Surflon S-121
to make PVDF, As a result of Solvay’s operations at the facility, It discharged massive amounts of
the Surflon S-111 (primarily, PFNA} Into the surrounding alr and water. The site, off-site
properties, and New Jersey’s natural resources, Including air, surface waters, groundwater, and
drinking water sources, are contaminated with PFNA.

Additionally, Solvay also used sodlum perfluorooctanoate (NaPFO) as a surfactant at its facility.
The NaPFO (which is a salt of PFOA} was supplied to Solvay by 3M. NaPFO degrades Into PFOA.
The site and surrounding area are also contaminated with PFOA as a result of Solvay’s activities
at the facility.

As of March 19, 2019, out of the 400 wells sampled as part of the remedial investigation around
the Solvay Site, 83 wells - 21-percent — required Installation of a POET system for PENA or PFOA.

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Currently, Solvay is using a replacement chemical for PFNA for use in the manufacture of its
polyvinylidene product. This compound, identified in Wang, 2013, as “Solvay’s product” (CAS No,
329238-24-6) Is a chloro perfluoro polyether carboxylate and has been Identified in
environmental matrices in Salem and Gloucester Counties.

2. DuPont / DowDuPont

DuPont is a Delaware Corporation with its principal place of business in Wilmington, Delaware.
DowbBuPont is a Delaware Corporation with its principal place of business In Wilmington,
Delaware.

DuPont owned and operated Chambers Works, 67 Canal Road and Route 130, located in
Pennsville and Carneys Point Townships, Salem County, from 1891 to 2045, PFOA was used at
Chambers Worics beginning In the late 1950s. At varying times PFOA was used to, among other
things, manufacture fuorcelastomers, perfluoroelastomers and specialty fluoroelastomers used
In a variety of consumer and other products for their chemical non-stick and heat-resistant
properties. Telomers were also used and manufactured at Chambers Warks, and PFOA Is a by-
product of the telomer manufacturing process. DuPont also accepted large quantities of PFOA-
containing waste from off-site facilities, Including its Washington Works facllity in Parkersburg,
West Virginia, and discharged this waste along with wastewater from its on-site PFOA-related
processes through its wastewater treatment plant. As a result of the above, DuPont has
discharged PFOA as well as other PFAS, including PFNA, from Chambers Works for decades, which
has conteminated the site and the surrounding area.

As set forth below, DuPont spun-off its “performance chemicals” business fines (including Teflon
and various other products assoclated with PFAS constituents) by creating Chemours on July 1,
2015. As part of a series of related transactions, DuPont also transferred its Chambers Works
property to Chemours FC, LLC at that tlme. Nonetheless, DuPont continued to operate an
industrial facility on the Chambers Works property, manufacturing araniids and fluoroglastomers
on a portion of the Chemours Chambers Works site pursuant to an industrial lease [whereby
DuPont was the tenant and Chemours FC, LLC was the landlord}. In March of 2018, DuPont

. announced that would cease production of araralds on its Chambers Works leasehold but that it

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would continue to produce fluoroelastomers on the Site,

With respect to the area surrounding Chambers Works, sampling of residential drinking water
wells In the area has revealed contamination’at least fiva miles away from the facility. In total,
341 individual drinking water wells have been sampled, and 1628 have exceeded applicable
screening criteria, based on the concentrations of PFOA, PFNA, or PFOA and PFOS combined.
GenxX was also detected in residential drinking water. Investigation of contamination in this area,
aside from these selected wells, remains necessary in order to fully assess impacts to
groundwater, surface water, soils, sediments and biota,

Additionally, DuPont has been the owner and operator of its Parlin Facility, located at 250
Cheesequake Road, Sayreville Borough, Middlesex County since 1904, Currently, some or all of
the facility is owned by another DuPont entity, DuPont Specialty Products USA, LLC. Seginning in
the fate 1970s, DuPont blended fluoropolymers at its Partin facility, and produced Teflon?® finishes.
As a result of these activities PFOA was released into the environment from the facility. In 2006
and 2007, OuPont discovered PFOA releases, bath on-site and off-site, Among other things, those
releases have contaminated groundwater, Including off-site. In an email dated February 4, 2019,

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DuPont provided sampling results to the U.S. Environmental Protection Agency and the
Department of sampling conducted in several groundwater monitoring wells at the DuPont Parlin
facility. Those results show that GenX was detected in several groundwater monitoring wells at
the DuPont Parlin facility, Also, previous sampling of finished water at the Perth Amboy Wellfield
has documented the presence of PFOA at concentrations both above and below the Department's
Interim Specific Ground Water Quality Standard (ISGWQOS) of 10 ppt; individual supply wells may
exceed the PFOA ISGWQS. The Perth Amboy Weillffeld Is located approximately one and a half
miles south of the Parlin facility.

DuPont also manufactured PFOA in North Carolina that was then transported, used, disposed of,
or discharged in New jersey, further making it in any way responsible for such contamination,
After 3M decided to stop manufacturing PFOA due ta Its toxicity, DuPont began producing its own
feedstock of the chemical in 2002, DuPont manufactured PFOA until replacing it with Genx.
DuPont manufactured and utilized GenX until transferring its performance chernicals business and
liabilities to Chemours,

In 2017, DuPont merged into a direct subsidiary of DowDuPont, Inc., becoming owned and
controfled by DowDuPont, DowDuPont is restructuring and moving the vast majority of the assets
of DuPont to itself and other entitles, which it will spin off into independent, publicly traded
antities, These transactions, along with the transfer of the Parlin Site to DuPont Specialty Products
USA, LLC and the Industrial lease at Chambers Works, may trigger the requirernents of the
industria} Site Recovery Act, NJ.S.A. 13:1K-6, et seq. (“SRA”), which would require the
establishment of an appropriate remediation funding source, among other requirements.

3, The Chemours Entitles

The Chemours Company is a Delaware Corporation with its principal place of business in
Wilmington, Delaware. The Chemours Company FC, LLC Is a Delaware Limited Liability Company
with Hts principal place of business in Wilmington, Delaware,

{n 2013, confronted with mounting PFAS flabilities, DuPont announced Its plans to spin off its
performance chemicals business into a separate publicly traded company, Chemours. in order to
effectuate the spin off and transfer of certain assets end Habilities, a number of corporate entitles
were created. In 2014, Chemours FC, LLC was created, In 2015, DuPont transferred ownership of
the Chambers Works property to Chemours FC, LLC. Followlng the spin-off, Chemours FC, LLC
became a subsidiary of Chemours. Chemours FC, LLC remains the owner of the Chambers Works
property, while Chemours operates the site. The Chemours transactions may have also triggered
the requirements of ISRA, which would require the establishment of an appropriate remediation
funding source, among other requirements.

Chemours FC, LLC, as well as Chemours, accepted the iransfer of Chambers Works knowing that
the site was contaminated with PFOA and other PFAS, that PFAS was discharged at the site, that
there was PFAS contamination in the surrounding area, that remediation of the site and the
surrounding area would be required as a result of this contamination, and that funds would need
to be available for the same.

Additionally, since Chermmours FC, LLC became the owner and Chemours the operator of Chambers
Works, PFOA and other PFAS continue to be discharged at the site.

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Further, Chemaurs has agreed to assume certain liabilities of DuPont's with respect to PFOA and
other PFAS,

Currently, Chemours |s using PFAS replacement chemicals, including GenX technology and
associated chemicals hexaflucropropylene oxide dimer acid (HFPO-DA) and its ammonium salt, in
Its manufacturing processes for Krytox® at Chambers Works. As.a result of this process, HEPO-DA
Is discharged Into New Jersey's water and emitted into New Jersey's air.

HPFOA-DA has been detected in residential drinking water wells surrounding Chambers Works,

4, The 3M Company
3M Is a Delaware Corporation with its principal place of business in St. Paul, Minnesota.

3M is a person In any way responsible for PFOA and PFOS discharged in New J ersey as the primary
manufacturer of PFOA, which it supplied to DuPont, Solvay and others, and PFOS, which were
both discharged across New Jersey's environment.

3M has been identifled by the United States EPA as the dominant global producer of PFOA and
related chemicals, manufacturing approximately 85 percent or more of total worldwide volumes
of PFOA, 3M supplied PFOA to DuPont for use In its manufacturing processes until at least the
early 2000s, DuPont discharged this PFOA In New Jersey, Including at Chambers Works and its
Parlin facility, resulting In contamination of New Jersey's environment. 3M also supplied NaPFO
to Solvay, which It discharged In New Jersey's environment,

3M was also a primary manufacturer of PFOS, and produced AFFF containing PFOS and PFAS, 3M
sold AFFF frond the 1960s to the early 2000s, which was used at military bases, airports and
firefighting training facilities.

Use of AFFF in New Jersey has discharged PFOS and other PFAS Into New Jersey’s environment.
For example, AFFF use at Joint Base McGuire-Dix-Lakehurst and FAA William J. Hughes Technical
Center has resulted in significant contamination of surrounding drinking water sources and
natural resources, The Department's efforts to Identify sites where AFFF was used Is ongoing.

New fersey PEAS-Related Costs.
Costs Previously Incurred by the Department

As of March 4, 2019, the Department has Incurred at least $3,105,084.91 to investigate, monitor,
test, treat, remediate, clean up and remove PFNA and PFOA from the area surrounding Solvay's
facility in West Deptford. And, the Department continues to incur costs associated with PENA and
PFOA on a claily basis,

The above-referenced costs do not include all costs previously incurred by the Department, and
will be supplemented. Among other things, the Department may seek reimbursement from
flespondents for its statewide studies of the occurrence of PEAS and related research and the cost
of the Division of Sclence & Research's labor on PFAS studies.

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Future Costs to be Incurred by the Department

The Department expects to Incur hundreds of millions of dollars in casts assessing and responding
to the discharge of PFAS into the environment of New Jersey.

The Department anticipates Incurring additional costs related to ongelng and new studies and
research projects to further assess the Impacts of PFAS on groundwater, surface waters, marine
and freshwater fish and other aquatic life, biota, and human health.

The Department anticipates incurring costs to investigate, monitor, test, treat, remediate, clean
up and remove PFNA, PFOA and PFOS from New Jersey's drinking water and waste water systems.

The Department anticipates incurring costs to Investigate, monitor, test, treat, remediate, clean
up and remove PFNA, PFOA and PFOS from New Jersey’s private drinking water wells.

The Department anticipates incurring costs to Investigate, monitor, test, treat, remediate and
clean up and remove PFNA, PFOA and PFOS from New Jersey's natural resources, including
groundwater, surface water, soil, sediments and blota,

The above list of Future casts the Department anticipates incurring is not exhaustive. Rather, this
list is meant to provide a framework for estimating fiure costs related to PFNA, PFOA and PFOS
for the purposes of establishing a funding source for these costs to be maintained by
Respondents.

DIRECTIVE

The Department Is broadly empowered to take appropriate action to prevent the pollution of New
jersey’s environment and abate nuisances in connection therewith, NJ.S.A. 13:10-9(e). The
Department ts also charged with enforcing New Jersey’s environmental laws, including the Spill
Act, the WPCA, the SWMA, and the APCA. The Department may direct persons to post a
performance bond or other security for the full estimated cost te correct violations of New
Jersey's environmental laws. N.JS.A, 43:10-9{u).

The substances referenced in the paragraphs above are hazardous substances pursuant to the
Spi Act, N.LS.A. 58:10-23.11(h}, pollutants pursuant to the WPCA, N.J.S.A. 58:10A-3(n}, solid
waste pursuant ta the SWMA, N.LS.A. 13:16-3(a) and alr contaminants pursuant to the APCA,
N.LS.A: 26:2€-2,

The Department Is authorized to seek and obtain information from persons related lo discharges
or potential discharges of pollutants into the waters of the State, discharges of hazardous
substances, disposal of solid waste, and releases of air contaminants, Pursuant to the WPCA, the
Department Is empowered to assess a person's compliance with the Act, and may request from
ahy person whe has information relevant to discharges of pollutants to provide certain documents
and/or Information to the Department. N.LS.A. 58:10A-5(a}-(b}, -10.3(a). Additionally, pursuant
to the Spill Act, persons who may be subject to Habltity for discharges must immediately notify
the Department of same. N.IS.A. 58:10-23.21¢. Further, pursuant to the APCA, the Department
Is empowered to require the filing of reports concerning Information related to ernissions, and

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persons who cause a release of alr contaminants which pose a potential threat to the public
health, welfare or the environment are obligated to Immediately notify the Department of same.
N.LS.A. 26:2C-9(b){3), -19{e).

Further, pursuant to the Spill Act, when a hazardous substance is discharged, the Department may
act in its discretion to clean up and remove ot arrange for the cleanup and removal of the
discharge or may direct the discharger to clean up and remove, or arrange for the cleanup and
removal of, the discharge. N.JS.A, 58:10-23.11f.a(1), The Department is authorized to direct a
responsible party to pay for the cleanup and removal of the discharge prior to the Department
cleaning up and removing of arranging for the cleanup and removal of the discharge. The
Department is also authorized to seek compensation for damages incurred by ail partles injured
by these discharges. NLS.A, 58:10-23.t1u.b. Any discharger that fails to comply with a directive
shall be flable to the Department in an amount equal to three times the cost of such a cleanup
and removal, and shall be subject to the revocation or suspension of any license issued or permit
held authorizing that person to operate a hazardous waste facllity or solid waste facility, N.J.S.A.
58:10-23.11f,7.a{4).

Purstiant to NJ.S.A. 58:10-23.11g.c. any person who has discharged a hazardous substance ar is
In any way responsible for any hazardous substance, shall be strictly Hable, jointly and severally,
without regard to fault, for all cleanup and removal costs no matter by whom incurred, Such
person shall also he strictly liable, jointly and severally, without! regard to fault, for all cleanup and
removal costs Incurred by the Department.

Pursuant to N.J.S.A. 58:10-23.lig.c., Respondents are or will be persons who discharged a
hazardous substance or are in any way responsible for the discharge of a hazardous substance.

Respondents are persons whom the Department believes have, or may have, information relevant
toa discharge or potential discharge of hazardous substances and pollutants, the disposal af solid
waste and the release of air contaminants in a quantity or concentration which poses a potential
threat to public health, welfare or the environment,

In accordance with the abave, the Department hereby directs Respondents to take the following
actions,

Payment of Previously Incurred Costs

Solvay, within 20 days after receipt of this Directive, shall reimburse the Department for the
Department's previously incurred costs to investigate, treat, cleanup and remove PFNA, PFOA and
other PFAS at and the area around its West Deptford facility, as recounted in paragraph 47 and
48 above. Solvay shall pay $3,105,084.91 to the Department as reimbursement for the currently
calculated past costs incurred.

The Department hereby directs Solvay to assume responsibility for operation and maintenance of
all of the POETs installed to address PFNA associated with the Solvay Site by teking the following
actions according to the following expedited site-specific timeframes, established pursuant to
N.LA.C. 7:26C-3,4, Note the timeframes specified herein do not represent an extension to any
past due timeframes and the Department reserves the right to pursue penalties back to the
original due dates:

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a.

Solvay shall maintain a licensed site remediation professional for the remediation of the
entire Solvay Site, pursuant to NAC, 7:26C-2,3(a)2;

Solvay shall assume the monitoring and maintenance of the POET Systems at the Solvay Site
pursuant to NJAC. 7:26C-2.3, including but not limited to the fallowing:

1) As first priorities, Solvay shall conduct the following:

1} Within ninety (90) days after receipt of this Directive, assume operation and
malntenance of the POETs Installed by the Department at the following locations to
address PFNA contamination associated with the Solvay Site:

West Deptford Township, Gloucester County

1) Block 128, Lot 2, 1692 Crown Point Road: and

2} Block 351, Lot 8.03, 963 Kings Highway; and

3) Block 351, Lot 8,01, 965 Kings Highway.; and

4) Block 346.07, Lot 21,02, 643 Mantua Grove Road; and
5} Block 346.07, Lot 21.05, 639 Mantua Grove Road: and
6} Block 358, Lot 6.02, 667 Mantua Pike.: and

7} Block 350.03, Lot 45, 1043 Kings Highway, and

8} Block 346.07, Lot 21,01, 619 Mantua Grove Road, and
9} Block 325, Lot 7.02, 1752 Crown Polnt Road, and

10) Block 353, Lot 1.03, 350-352 Parkville Station Road, and
11} Block 354, Lot 1.03, 1098 Jessup Road, anc

Greenwich Township, Gloucester County

12) Block 253, Lot 5, Greenwich Lake Park; and
13) Block 263, Lot 3, 665 Swedesboro Road, and
14) Block 263, Lot 4, 625 Swedesboro Road, and
15) Block 255, Lot 1, 631 Swedesboro Road, and
16) Block 255, Lot 4, 656 Swedesboro Road, and
17} Block 261, Lot 4, 465 Swedesboro Road, and
18} Block 249, Lat 1, 405 Tomlin Station Road, and
19} Block 358, Lot 6, 671 Mantua Pike, and

Logan Township, Gloucester County

20} Block 2801, Lot 8, 284 Padricktawn Road, and
24) Block 2801, Lot 8, 286 Pedricktown Road, and
22} Block 2801, Lot 8, 288 Pedrickton Road, and
23) Block 2801, Lot 8, 290 Pedricktown Road, and
24} Block 2801, Lot 14, 300 Pedricktown Road, and
25} Block 43, Lot 4, 288 Floodgate Road, and

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26} Block 2304, Lot 5, 2510 Oldmans Creek Road, and
27} Block 504, Lot 28,02, 548 Route 44, and

28} Block 1003, Lot 14, 676 Oak Grove Road, and

29} —- Block 104, Lot 7, 104 Route 130, and

30} Block 2706, Lot 48, 2251 Township Ling Road, and
34) Block 3103, Lot 10, 42 Jackson Street, and

32} Block 1303, Lot 8, 32 Jackson Street, and

33) Block 3103, Lot 9, 36 Jackson Street, and

Swedesboro Borough, Gloucester County

34} Block 2, Lot 15, 320 Floodgate Road, and Gldmans, Salem County
35) Block 11, Lot 7.01, 59 South Railroad Avenue, and

36) Black 11, Lot 7.03, 67 5. Railroad Avenue, and

37) Block 3, Lot 13, 187 N. Rallroad Avenue, and

38) Block 28,04, Lot 61, 22 Seminole Lane, and

39} Block 28,04, Loi 35, 171 Straughns Mill Road, and

40) Biock 28.01, Lot 37, 157 Straughns Mill Road,

Within ninety (90) days after receipt of thls Directive, assume operation and
maintenance of the thirty (30) POETs installed by the Department at the
following locations te address PFOA contamination associated with the Solvay
Site:

Logan Township, Gloucester County
41) Block 502, Lot 5, 43 Floadgate Road

42) Block 605, Lot 8, 139 Repaupo Station Road
43) 605, Lot 17,01, 204 Repaupo Road

44) Block 1003, Lot 13.01, 738 Oakgrave Road
45) Block 1003, Lot 12.01 736 Oak Grove Road
46} Block 1003, Lot 3.01 82 Coontown Road

47} Block 11402, Lot 22, 2789 Route 322

48) Block 2801, Lot 11, 304 Pedricktown Road
49) Block 1402, Lot 21, 2799 Route 322

50) Block 3102, Lot 1, 133 Route 130

51} Block 3102, Lot 9, 139 Route 130

52) Block 3102, Lot 3, 2537 Center Square Road
53} Block__, Lat__, 137 Route 130 [To Be Updated)
54) Block 3407, Lot 10, 42 Jackson Street

55) Block 1301, Lot 8, 32 Jackson Street

56) Black 3103, Lot 9, 36 Jackson Street

57) Block 3103, Lot 7, 26 Jackson Street

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d)

Swedesboro Borough, Gloucester County

58} Block___, Lot___, 324 Floodgate Road [To Be Updated]

Greenwich, Gloucester County
59) Block 255, Lot 1.01, 641 Swedesboro Road

Oldman’s Township, Salem County

60} Block 2801, Lot $6, 16 Pedricktown-Woodstown Road
61) Block 28,01, Lot 60, 18 Seminole Lane

62} Block 28.01, Lot 59, 6 Seminole Lane

63) Block 3, Lot 13, 191A North Railroad Avenue

64) Block 29, Lot 8.01, 158 Straughns Mill Road

65) Block 28.04, Lot 10, 52 Pedricktown-Woodstown Road
66} Block 28, Lot 27, 80 Tighe Road

67) Block 29, Lot 8.02, 162 Straughns Mill Road

68} Block 28, Lot 27.04, 379 Perkintown Road

69} Block 28.01, Lat 54, 24 Seminofe Lane

70} Block __, tot___, 178 Pedricktown-Woodstown Road [TO BE UPDATED]

Within ninety (90) days after receipt of this Directive Identify and sample all
potable wells within 500 feet down gradient, 500 feet side gradient and 250
feet up gradient of each previously identified impacted potable well, pursuant
to NAC. 7:26E-1,.11,

Within one hundred twenty (120) days after receipt of this Directive
implement treatment and monitoring, In accordance with N.LA.C, 7:26£-1.11,
for potable wells with documented exceedances of the 13 ppt PFNA MCL
attributable to the Site, and/or with documented exceedances of the 14 ppt
action jevel for PFOA,

65. Solvay shali submit an updated Remediation Cost Review and Remediation Funding
Source/Financlal Assurance Form to include the cost of additlonally requtred potable sampling
and Implementation of treatment and monitoring.

&8. Payments made pursuant to paragraphs 47, 48 and 63 above shall be made by certified check or
cashier's check payable to “Treasurer, State of New Jersey” and mailed to:

Division of Revenue and Enterprise Services
P.O. Box 417
Trenton, New Jersey 08646-0417

With a copy to:

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Catherine R, MeCabe

Commissioner

New Jersey Department of Environmental Protection
401 East State Street

Trenton, New Jersey 08625

Funding of Future Costs of Investigation, Treatment, Cleanup and Removal, and Uability of the
Spill Fund

67, Respondents, within 30 days of recelpt of this Directive, shall meet collectively with the
Department to discuss a good faith estimate for future costs to investigate, test, treat, cleanup,
and remove PFNA, PFOA, and PFOS from New Jersey's environment and discuss Respondent's
establishment of funding sources for same. Future costs Include, but are not limited to:

a. The Department's continued studles and research on the presence of PFAS in New
Jersey’s environment, as referenced above In paragraphs 49 to 54;

b. Costs to Investigate, test, treat, remediate, clean up and remove PFNA, PFOA and PFOS
from New Jersey's drinking water systems and waste water systems;

c. Costs to Investigate, test, treat, remediate, clean up and remove PFNA, PFOA and PFOS
from New Jersey's private drinking water wells and Irrigation wells;

d. Costs te Investigate, test, treat, remediate and clean up and remove PFNA, PFOA and
PFOS from New Jersey's natural resources, Including alr, groundwater, surface water, soll,
sediments and biota;

e. Costs of assessment, replacement, restoration and compensation for all injured natural
resources, including but not limited to, all lost use and value and ecological injury;

f. All damages incurred by persons other than the State who are injured by the conduct of
Respondents and recoverable by the Department on thelr behalf;

g. All damages and economic Impacts incurred by the State as a result of the conduct of
Respondents; and

h. All liabHities and damages incurred by the Spill Fund as a result of the canduct of
Respondents,

Information Related to Historic Use of PFNA, PFOA and PFOS, and Current Use of Replacement
Chemicals

68, Each Respondent, as applicable, within 21 days of recelpt of this Directive, shail provide the
following information to the Department regarding its historic use of PENA, PFOA and/or PFOS in
New Jersey:

a. identify all PFNA, PFOA and PFOS manufactured, supplied, transported, stored, used,
treated, disposed, and/or discharged in New Jersey;

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b. Identify the nature, extent, source and location of discharges of PFNA, PFOA and PFOS
into the waters of the State;

c. tdentify the nature, extent, source and location of emissions of PFNA, PFOA and PFOS into
ait;
d. if the Respondent is not the manufacturer, supplier, or transporter of PFNA, PFOA and

PFOS, identify any such manufacturer, supplier or transporter; and

e, The Respondent's ability to pay for, or perform, the cleanup and removal of PFNA, PFOA
and PFOS from New Jersey’s environment, and every “change of ownership” {as defined
in NJ.S.A. § 13:1K-8} involving Respondents’ current or former sites In New Jersey.

69. Each Respondent, as applicable, within 21 days of receipt of this Directive, shall provide the

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following Information to the Department regarding its use of PFAS replacement chemicals (ie.,
those short-chain PFAS chemicals used In any manufacturing process as a replacernent for PFNA,
PFOA and/or PFOS) in New Jersey:

a. identify all replacement chemicals manufactured, transported, stored, used, treated,
disposed, and/or discharged In New Jersey, and the toxic characteristics of any such
chemicals;

b. Identify the nature, extent, source and location of discharges of replacement chemicals
into the waters of the State;

c. Identify the nature, extent, source and location of emissions of replacement chemicals
Into air;

d. iF the Respondent is not the manufacturer or transporter of the replacement chemicals,
Identify any such manufacturer or transporter; and

e. The Responcent’s abllity to pay for, or perform, the cleanup and removal of replacement
chemicals from New Jersey's enviranment.

Each Respondent, as applicable, in responding to the above-referenced Information requests,
must conduct a diligent search of its records and make reasonable inquires of its employees, and
further has the continuing obligation to supplement such information if additional relevant
information |s discovered, or if it determines information previously provided to the Department
was false, Inaccurate or misleading, N.S.A. 58-10A-10.3c(1)-{2}.

For the avoidance of doubt, this Directive ts not a formal enforcement order, a final agency action
or a final legal determination that @ violation has occurred. This Directive is not subject to pre-
enfercement review and may not be appealed or contested.

NOTICE

Failure to comply with this Directive: and Notice to Insurers will increase Respondents’ potential
lability to the Department in an amount equal to three (3) times the cost of arranging for the
cleanup and removal of the discharge and may cause a lien to be placed on Respondents’ real and

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personal property pursuant to the Spill Act, N.LS.A. 58:10-23.116, including a first priority lien on
the properties where the discharge(s) have occurred.

Pursuant to NJS.A. 58:40-23.21u,, NJLS.A, 58:10A-10, NJLS.A. 26:20-9, and N.LS.A. 13:1£-9, the
Department may require through a court action compliance with the Spill Act, WPCA, APCA, and
SWMA. Failure by Respondents to comply with this Directive may result In an enforcement action
by the Department, which will subject each Respondent to penalties of up to $50,000 per day and
each day of violation constitutes an additional, separate and distinct violation.

RESERVATION OF RIGHTS

The Department reserves the right to direct Respondents to take or arrange for the taking of any
additional remediation that the Department determines to be necessary to pratect the public
health and safety and/or the environment and to seek full reimbursement and treble damages
for all costs Incurred in taking such additional remediation if Respondents fail to comply with the
applicable provisions of this Directive.

The Department reserves all rights and remedies under the Spill Act, WPCA, SWMA and APCA as
well as all other applicable statutes not set forth herein and the common jaw of New Jersey,
Including [ts right to bring an actlon In the Superior Court for appropriate rellef,

NOTICE TO INSURERS

Pursuant te N.J.S.A, 58:10-23,115, any claims for casts of cleanup or damages by the State may be

brought directly against the bond, insurer or any other person providing evidence of financial -

responsibility, and Respondents are directed to put thelr Insurers on notice of such,

NEW JERSEY DEPARTMENT GF
ENVIRONMENTAL PROTECTION

DATE; March 25, 2019 By:

Catherine R. McCabe, Commissioner

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